 Case: 7:20-cv-00132-WOB Doc #: 16 Filed: 11/02/20 Page: 1 of 1 - Page ID#: 88




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                      PIKEVILLE

JOHN LEE COCKERHAM, JR.,                       )
                                               )
         Plaintiff,                            )     Civil Action No. 7: 20-132-WOB
                                               )
v.                                             )
                                               )
KAREN CLAYTON, et al.,                         )              JUDGMENT
                                               )
         Defendants.                           )

                                     *** *** *** ***

         Consistent with the Memorandum Opinion and Order entered this date and pursuant to

Rule 58 of the Federal Rules of Civil Procedure, it is ORDERED and ADJUDGED as follows:

         1.     Plaintiff John Lee Cockerham, Jr.’s complaint [R. 7] is DISMISSED WITH

PREJUDICE.

         3.     Judgment is ENTERED in favor of the defendants.

         4.     This is a FINAL and APPEALABLE Judgment and there is no just cause for

delay.

         This the 2nd day of November, 2020.
